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              EXHIBIT 1
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                                                                            Page 348
                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

     IN RE: PHARMACEUTICAL INDUSTRY
     AVERAGE WHOLESALE PRICE
     LITIGATION                        MDL No. 1456
     _________________________________
     THIS DOCUMENT RELATES TO:         Master File No.
                                         01-CV-12257-PBS
     _________________________________ Subcategory No.
                                         06-CV-11337-PBS
     United States of America, ex rel.
     Ven-A-Care of the Florida Keys,   Judge Patti B. Saris
     Inc., v. Abbott Laboratories,
     Inc.                              Magistrate Judge
                                        Marianne B. Bowler
     CIVIL ACTION NO. 06-11337-PBS


       VIDEOTAPED DEPOSITION OF ELVIN M. MONTANEZ, PHARM.D.
         Taken on Behalf of the United States of America
                             VOLUME II

               DATE TAKEN:     APRIL 30, 2009
               TIME:           8:32 a.m. - 4:28 p.m.
               PLACE:          Sheraton Orlando North
                               600 North Lake Destiny Drive
                               Maitland, FL 32751



                   Stenographically Reported by:
                        Delina M. Valentik,
                 Registered Professional Reporter
                   Florida Professional Reporter




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                                             Page 401                                                 Page 403
 1      Q. What --                                       1   objection?
 2      A. In general let me rephrase. This is           2          MR. TORBORG: I told you.
 3   what I thought a pharmacist earned during that      3          MR. ANDERSON: It's suggestive? Is
 4   time period.                                        4   that a -- is that a basis, suggestive question?
 5      Q. But you didn't --                             5          MR. TORBORG: The question is implying
 6      A. In ball park range.                           6   that there is a difference between the two.
 7      Q. But you didn't look at any salary             7          MS. ST. PETER-GRIFFITH: There isn't an
 8   information or any studies or any time sheets or    8   implication. It's not implying anything. The
 9   any pay stubs to derive this information.           9   man can than answer.
10   Correct?                                           10          MR. TORBORG: Okay.
11          MR. TORBORG: Objection.                     11          MR. ANDERSON: I move to strike the
12          THE WITNESS: I did not. I would have        12   objection as unfounded.
13   stated it in a subsection. I would have            13          THE WITNESS: Let me go ahead and
14   subheaded it.                                      14   answer the question. The home infusion industry
15   BY MS. ST. PETER-GRIFFITH:                         15   hires pharmacists and nurses that have a certain
16      Q. So this is all based upon your own           16   level of expertise in injectable drugs and the
17   personal recollection?                             17   administration of the injectable drugs and the
18      A. And experience, yes.                         18   management of those injectable drugs. That
19      Q. And from '91 through '94 you didn't          19   expertise is found in hospital where those
20   work in the home infusion market, did you?         20   products are also used, therefore, the industry
21      A. I worked in the pharmacy -- at -- in         21   has to compete with hospital on salary, wage and
22   the hospital section, yes.                         22   benefits in order to attract the same resource.
                                             Page 402                                                 Page 404
 1       Q. Well, are these prices intended to       1       So I do believe them to be very similar, yes.
 2   reflect salaries for home infusion pharmacy or  2       BY MS. ST. PETER-GRIFFITH:
 3   for a regular pharmacy?                         3          Q. Are they the same?
 4          MR. TORBORG: Objection, form.            4          A. I believe them to be estimates that are
 5          THE WITNESS: Let me clarify for you --   5       very similar.
 6          MR. ANDERSON: What's the basis of that 6            Q. And what do you base that on?
 7   form objection?                                 7          A. My experience.
 8          MR. TORBORG: She's suggesting that       8          Q. Just solely your experience?
 9   there's a difference between the two, so...     9          A. (Nods head.)
10          MR. ANDERSON: She's not suggesting      10          Q. And what is it that -- in your
11   anything. She's asking the man if there is a   11       experience that informs that factual bases?
12   difference.                                    12          A. My CV indicates I worked in both
13          MR. TORBORG: I -- that's not what she   13       institution as well as home infusion.
14   asked.                                         14          Q. How much did you make an hour as a
15          MS. ST. PETER-GRIFFITH: That was what 15         pharmacist from 1991 to 2001?
16   I asked.                                       16          A. It varied between 50 to $60,000.
17          MR. TORBORG: Read back the question     17          Q. How much did you make on an hourly
18   then.                                          18       basis?
19          (Thereupon the record was read.)        19          A. I was salaried.
20          MR. TORBORG: Objection stands.          20          Q. Then how can you identify what the --
21          THE WITNESS: I don't think --           21       an hourly wage figure is?
22          MR. ANDERSON: What's the basis of the 22            A. I don't have an hourly -- well, I put
                                                                             15 (Pages 401 to 404)
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 1   it down in hourly, but what you can do is you can  1   know, we -- we would -- I would come up with, you
 2   take that figure, multiply it by twenty eighty     2   know, $29 or $27, but still the calculation is
 3   and that's your salary.                            3   still going to render you a number and, again, to
 4       Q. What is twenty eighty?                      4   keep this paper from becoming something that is
 5       A. Two thousand eighty hours which is the      5   an encyclopedia or compendium and without having,
 6   average work year if you work 40 hours a week and 6    you know, the need to spend a year compiling that
 7   you have two weeks of vacation.                    7   information to get a point across, again, I
 8       Q. And is that what you did in arriving at     8   simplified the term and put it here in estimates.
 9   this figure?                                       9       Q. Okay.
10       A. Yes.                                       10       A. This is -- this is an estimate.
11       Q. Okay.                                      11       Q. I want you to take me through your
12       A. I put it in -- I could have used the       12   methodology --
13   salaries for both the pharmacist and the nurse    13       A. Uh-huh.
14   because those are typically salaried positions.   14       Q. -- based upon what personal experience
15   But I went ahead and simplified the process, so   15   you had in your head --
16   it would be more relatable in time since we were  16       A. Uh-huh.
17   talking about time, I put it in terms of time     17       Q. -- as to how you calculated this $28.85
18   just by dividing it out.                          18   pharmacy -- pharmacist's hourly wage.
19       Q. Did you do any kind of analysis of over    19       A. If I had to hire a pharmacist back in
20   time how salaries would increase or decrease      20   that time period, it would have taken me anywhere
21   based upon market conditions?                     21   between, you know, anywhere in the $60,000 range
22       A. No, I didn't. Again, it's my               22   to attract that pharmacist to come over. And
                                           Page 406                                                  Page 408
 1   experience and I have to live in those market      1   then I would have had to offer a good benefits
 2   conditions, so I feel like my experience was part  2   package to do the same. And I would look for a
 3   of those differences that you reference.           3   pharmacist with experience.
 4       Q. And --                                      4       Q. So take me through the math --
 5       A. Or conditions that would create a           5          MR. ANDERSON: Objection,
 6   difference.                                        6   nonresponsive.
 7       Q. And those market conditions that you        7   BY MS. ST. PETER-GRIFFITH:
 8   worked in were exclusively in the mid -- middle    8       Q. Take me through the math of how you did
 9   Florida range area. Right?                         9   -- how you got to this $28.85 figure?
10       A. In the Florida area, yes. In -- you        10          THE WITNESS: I was --
11   can't say mid Florida, you -- I would go all the  11          MR. TORBORG: Objection, asked and
12   way down to south Florida up to north central     12   answered.
13   Florida where we had facilities located in Ocala. 13          THE WITNESS: I was hiring back in the
14       Q. Do you pay your pharmacists the same       14   time period of '95, '96, you know, '97 when I was
15   from '95 through 2001 in every single pharmacy in 15   in a specific entity, and I was also responsible
16   every geographic region where ProHealth has a     16   after '97, '98 when I got to the corporate office
17   pharmacy?                                         17   for oversight of that responsibility of what
18       A. We have minor variations which is why I 18      salaries were being paid and was our company
19   stated in my, you know, paper here, these are     19   maintaining its competitiveness in being able to
20   estimates and, again, if I wanted to take those   20   recruit the resource. That's what I relied on,
21   variations into consideration, I don't think that 21   again, my experience.
22   we would have any meaningful difference, you      22   BY MS. ST. PETER-GRIFFITH:
                                                                            16 (Pages 405 to 408)
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 1   conversation about your doing two different types    1   it took me to do the table, but you know an hour
 2   of analyses for purposes of this report.             2   or two, would be a guess.
 3       A. Uh-huh.                                       3       Q. Okay. What about the flow diagram one,
 4       Q. An analysis of the labor --                   4   the process, personnel and time?
 5       A. Uh-huh.                                       5       A. Maybe an hour.
 6       Q. -- as well as a supply analysis --            6       Q. And then finally what about the cost of
 7       A. Uh-huh.                                       7   -- by personnel?
 8       Q. -- I think is what we called it.              8       A. That's really something that I didn't
 9       A. Uh-huh.                                       9   -- you know, that time was nominal. That's the
10       Q. Is this -- are these diagrams and flow       10   calculations.
11   charts --                                           11       Q. Okay. So you took sort of --
12       A. Uh-huh.                                      12       A. Information.
13       Q. -- in section A --                           13       Q. -- flow diagram one --
14       A. Uh-huh.                                      14       A. Yeah.
15       Q. -- the labor analysis that we talked         15       Q. -- information from the hourly wage and
16   about?                                              16   sort of did the math?
17       A. Yes, what I did was I took you through       17       A. Right.
18   the process so that you could understand how I      18       Q. Is that fair?
19   derived a certain calculation where I got my        19       A. Right.
20   information from, where I got my time from. I       20       Q. Okay. So that was a few minutes?
21   tried to make it as clear as possible. I think      21       A. Nominal, yeah.
22   diagrams help in that scenario. But what I          22       Q. Okay. Now, you said with regard to
                                             Page 426                                                  Page 428
 1   indicate in table or diagram one is the actual       1   flow diagram one that you -- that this is the
 2   time involved and then I take information from       2   actual time involved. First, what I'd like to
 3   that in table two that is the wage analysis or       3   ask is what is the time period for the actual
 4   estimates. And then in table one of the hourly       4   time involved in flow diagram one?
 5   wage, rather.                                        5      A. Well, the time period --
 6          In table two, cost by personnel, what I       6          MR. TORBORG: Object to form.
 7   do is on the left column I add time for each         7          THE WITNESS: The time period could be
 8   individual discipline and then multiply it all       8   1995. It could be 2005. Again, the
 9   out by the wage.                                     9   responsibility and the requirement is still the
10       Q. Okay.                                        10   same.
11       A. And add it here so it's clear.               11   BY MS. ST. PETER-GRIFFITH:
12       Q. We might be covering a little bit of         12      Q. Okay. What -- does this cover the time
13   the same ground that we covered yesterday, but      13   period from '91 through '94?
14   what I'd like to do is break it down based upon     14      A. Yes, in 1991 when I inquired as to what
15   what you just said. How long did it take you to     15   home infusion was all about back then it was the
16   put together the -- and do -- do the analysis --    16   same as it is today with exception, we have now
17       A. Uh-huh.                                      17   more covered therapies and essentially TPN was
18       Q. -- and put together the hourly wage          18   being performed back in 1991. You know, IV
19   table?                                              19   antibiotics were being administered back in 1991.
20       A. You know, it would be a component of         20      Q. Who did you inquire of?
21   however long it took me to do the report. You       21      A. Colleagues, associates. If anything,
22   know, I don't really know specifically how long     22   the time would be greater back in the earlier
                                                                              21 (Pages 425 to 428)
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 1   days because administering these drugs in the      1     roundtable discussions, et cetera.
 2   home was less understood, the risks were less      2         Q. But you can't identify a single
 3   understood and, therefore, we tended to -- you     3     presentation, you can't identify a single
 4   know, in the early years we tended to perform      4     individual that you spoke with. Right?
 5   more analysis on the patient to make sure that     5         A. No.
 6   they were responding to treatment and no           6         Q. For the time representations here are
 7   complications were occurring.                      7     they based upon your experience with the
 8      Q. That statement that you just made --         8     ProHealth -- with the market that ProHealth and
 9      A. Uh-huh.                                      9     its pharmacies were operating in?
10      Q. -- what do you predicate that on?           10         A. The five home infusion pharmacies, yes.
11      A. My experience.                              11         Q. Anything else?
12      Q. And which colleagues and associates did     12         A. No.
13   you consult or survey to obtain information       13         Q. And what did you do to ascertain that
14   concerning the '91 through '94 time period        14     it took 60 minutes for an intake nurse --
15   represented in this flow diagram?                 15         A. A couple of things. You are part of
16      A. Same colleagues and associates that         16     the process. You can perform the intake yourself
17   we've talked about since we began our deposition 17      that a nurse would do. It doesn't take a nurse
18   yesterday. You know, we're talking about 14 years 18     to do it. You hire a nurse to do it. There's
19   of historical questions and answers. And how      19     obvious advantages because they speak. The
20   long have you been open and how long have you 20         language that someone on the referring end is
21   been performing home infusion and when did you 21        speaking, but you can do it yourself and I have
22   open your doors and, you know, how did you open 22       done it many times myself. I know the time it
                                             Page 430                                                 Page 432
 1   your doors, what was your first patient, what was    1   takes. And let me tell you, that 60 minutes is a
 2   your first TPN like, you know, those are all         2   perfect scenario. It could go far beyond that.
 3   things that come into conversation.                  3   Because there are many unknown questions that
 4       Q. Who did you have those conversations          4   need to be answered and that takes up time, so...
 5   with?                                                5      Q. And is it your belief or your position
 6       A. I don't know. They were, you know,            6   that this time should be covered through the
 7   people I met throughout the years.                   7   ingredient cost spread for Medicare and Medicaid?
 8       Q. But you can't name a single person?           8          MR. TORBORG: Objection, form.
 9       A. I cannot.                                     9          THE WITNESS: It is my belief that that
10       Q. What about for '95 through 2001, what        10   time adds to the cost that I incur in providing
11   do you base this -- these time representations      11   the service that is required for the
12   upon in --                                          12   administration of a drug in home infusion.
13       A. Again, it's like --                          13   BY MS. ST. PETER-GRIFFITH:
14       Q. -- flow diagram one?                         14      Q. And is it your position that the
15       A. It's based on my experience and, again,      15   reimbursement for the ingredient cost and the
16   the same networking opportunities that we had.      16   spread associated with that, that you -- that
17       Q. So when you say the same networking          17   your ProHealth entities or pharmacies billed to
18   opportunities, those are the ones where you can't   18   Medicare and Medicaid should cover -- should they
19   name me anyone. Right?                              19   cover any of the costs on this flow diagram one?
20       A. It's the same network opportunities          20      A. It's my position that my costs should
21   that I've had throughout the past -- the 14 years   21   be considered when reimbursing me. Otherwise, if
22   in attending seminars and presentations,            22   my costs aren't considered in any kind of
                                                                              22 (Pages 429 to 432)
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 1   ABT's 2006 result. Right?                          1   think that question has not been asked yet?
 2       A. Uh-huh.                                     2          MS. ST. PETER-GRIFFITH: Do you have a
 3       Q. Is that right?                              3   form objection?
 4       A. That's correct.                             4          MR. ANDERSON: Look, I want an answer.
 5       Q. Okay. But you agree that your method        5          THE WITNESS: I contend that my
 6   is completely different than ABT's method.         6   information is similar. That my estimates are
 7   Correct?                                           7   fair. And that if you were to take and perform
 8       A. Yes.                                        8   this type of activity elsewhere, you would get a
 9       Q. Okay. Would you say that your result        9   similar result.
10   was more important to you than the method you     10   BY MR. ANDERSON:
11   used?                                             11       Q. How do you know that?
12          MR. TORBORG: Objection, form.              12       A. Again, based on my experience of 14
13          THE WITNESS: No, I believe that my         13   years in interacting with people in those 14
14   method was absolutely important and I was fairly  14   years, I feel like we're all operating very, very
15   confident of the result that I would show. But    15   similar in our approach to providing this care.
16   my method was very important because my method is 16   And the reason being is we have standards of
17   the validity of the report.                       17   practice and -- and accreditation requirements
18   BY MR. ANDERSON:                                  18   that put us very close.
19       Q. Do you --                                  19       Q. Have you considered wage rates in
20       A. It doesn't -- I believe, Mr. Anderson,     20   Seattle?
21   that you don't have to have a specific method of  21       A. I did not.
22   conducting research in order to draw a            22       Q. Dallas, St. Angelo, Texas?
                                           Page 558                                                 Page 560
 1   conclusion. There are many different ways to get  1        A. I did not.
 2   from point A to point B.                          2        Q. New York City?
 3       Q. Explain your research method to the        3        A. Again --
 4   jury that you used in your work in this           4        Q. I'm asking the question, sir, have you
 5   litigation.                                       5    considered wage rates in New York City?
 6       A. I didn't claim it to be research           6        A. I did not.
 7   method. I claimed it to be the exper -- what is   7        Q. Have you considered any salary
 8   home infusion, what is the cost of home infusion  8    information for any region within the country
 9   based on my experience, what is all involved, et  9    other than central and south Florida?
10   cetera.                                          10        A. Not beyond my experience, no.
11       Q. Do you -- do you contend, sir, that       11        Q. Okay. Have you considered any data or
12   your cost analysis regarding home infusion       12    statistics of any sort regarding any home
13   practice and services is applicable to the       13    infusion costs other than your experience in
14   country?                                         14    central and south Florida?
15           MR. TORBORG: Object to form.             15        A. I didn't think it was necessary to
16           MR. ANDERSON: I'll rephrase it.          16    provide the expert opinion.
17   BY MR. ANDERSON:                                 17        Q. Okay. So the answer to my question is
18       Q. Sir, do you contend that your cost work   18    no?
19   and analysis that's shown in your report is      19        A. The answer to your question is no.
20   somehow applicable or representative of home     20        Q. All right. Have you conducted any
21   infusion pharmacy costs throughout the country? 21     survey of any informal or formal type of any home
22           MR. TORBORG: Objection. Do you really 22       infusion pharmacies throughout the country?
                                                                            54 (Pages 557 to 560)
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 1   and answered.                                        1   salary variances are going to be there,
 2          THE WITNESS: I don't have any other           2   absolutely, but again...
 3   criteria.                                            3   BY MR. ANDERSON:
 4   BY MR. ANDERSON:                                     4       Q. Why didn't you consider those
 5       Q. Do you have any criteria?                     5   variances?
 6       A. I believe the -- the criteria --              6       A. Because I didn't think it was necessary
 7   experience is a criteria, is it not? And that's      7   for the points that I was trying to make --
 8   a question.                                          8       Q. Did you have --
 9       Q. That's a question to me?                      9       A. In this expert -- in this expert report
10       A. Yes, sir.                                    10   --
11       Q. You don't know whether your experience       11       Q. Uh-huh.
12   constitutes criteria for reliability of your        12       A. -- I could have variances, but still
13   method?                                             13   the -- the -- the point would still be made, if
14       A. I believe it does. I believe it does.        14   I'm paying $6 an hour for a driver in Texas, it
15       Q. Well, then why are you asking me?            15   would still cost me money to get that drug to a
16       A. I was asking you, not for my own             16   patient's home. If it cost -- if it was only 30
17   edification, to see where you stood.                17   minutes rather than an hour, it would still cost
18       Q. So you feel quite sure that it's a           18   me money to get that drug to a patient's home.
19   perfectly sufficient survey method and the          19          Again, the expert report was designed
20   criteria that indicates to you that your survey     20   to educate a jury as to what home infusion is.
21   was completely accurate and reliable and            21       Q. Let me read you something, Dr.
22   representative because you had these                22   Montanez, that came from your files about
                                            Page 566                                                    Page 568
 1   conversations?                                       1   problems inherent in analyzing home infusion
 2         MR. TORBORG: Object to form.                   2   pharmacy cost data. This is in the conclusion
 3         THE WITNESS: Not --                            3   section of a report titled Survey of Operational
 4         MR. TORBORG: Misstates testimony.              4   Cost By Home Infusion Pharmacies.
 5         THE WITNESS: It's not just                     5       A. Uh-huh.
 6   conversations, Mr. Anderson, it's operation --       6       Q. It's Bates labeled ABT Montanez. That's
 7   operating as well. I don't believe that I would      7   you?
 8   be here today or my company would be successful      8       A. Uh-huh.
 9   and be viable today if what we weren't doing was     9       Q. 000263.
10   -- was valid.                                       10       A. Uh-huh.
11   BY MR. ANDERSON:                                    11       Q. Here's what a professional surveyor
12      Q. Did you consider anything like                12   said, quote, as noted in the limitations, readers
13   variances in your data, such as maybe you had a     13   should be cautious in relying heavily on the
14   conversation with some guy who you thought was      14   absolute values for optional -- for operational
15   kind of different than other pharmacists?           15   costs, productivity indicators and cost per
16         MR. TORBORG: Object to form.                  16   productivity unit reported in the study. However,
17         THE WITNESS: You know, I could have           17   this data may serve as a preliminary basis for
18   considered variances. I didn't think it was         18   comparisons. The difficulties inherent in
19   necessary to, again, express what does a home       19   collecting sensitive and detailed financial
20   infusion company do, why does it do what it does,   20   information are clear. Additional work is needed
21   what does it cost, what it does, I mean, the cost   21   in this area to facilitate the data gathering
22   variances are going to be there. Of course, the     22   process, validate cost and productivity data,
                                                                               56 (Pages 565 to 568)
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 1   provide data from larger and more representative    1   issues that would cause the data to be variant in
 2   samples and investigate alternative approaches      2   different ways. But am I going to conclude the
 3   such as activity-based costing to identify cost     3   same thing that it costs the home infusion
 4   components. Did you understand what I just read     4   company more than just the drug to provide that
 5   to you?                                             5   drug to a patient. And I believe the answer to
 6      A. Uh-huh.                                       6   that to be, yes.
 7      Q. Do you agree --                               7   BY MR. ANDERSON:
 8         MR. TORBORG: Would you like to have a         8      Q. Sir, do you contend that you are an
 9   copy of that?                                       9   expert in home infusion costs?
10   BY MR. ANDERSON:                                   10      A. I contend that I'm an expert in the
11      Q. Do you agree that those --                   11   provision of home infusion and as such I have to
12      A. What page are you on, Mr. Anderson?          12   be aware of costs. I don't -- I don't contend
13      Q. I'm on the last page.                        13   myself to be a statistician or an expert in home
14      A. Okay.                                        14   infusion costs per se that you would say, okay,
15      Q. Do you agree that those are inherent         15   well, you know, let's go out and write a paper
16   problems in gathering data concerning home         16   that involves all these variances that you just
17   infusion services and costs?                       17   mentioned in this report.
18      A. I agree.                                     18      Q. Has that --
19      Q. If you --                                    19          MR. TORBORG: Were you done?
20      A. It -- it specifies --                        20          THE WITNESS: Yes.
21         MR. TORBORG: Just let him finish his         21   BY MR. ANDERSON:
22   answer.                                            22      Q. Has that report that you have in front
                                           Page 570                                                   Page 572
 1            MR. ANDERSON: Well, I'm sorry, Dave,      1    of you been marked yet as an exhibit?
 2   but --                                             2            MS. ST. PETER-GRIFFITH: Yes, that is
 3           MR. TORBORG: You said you were going 3          the last pages of a composite exhibit that are
 4   to give him a little -- a little tiny bit of --    4    his Bates labeled --
 5   you know, a little bit more of a pause and you     5            MR. ANDERSON: What's the exhibit
 6   keep interrupting his answer and losing the flow.  6    number?
 7           THE WITNESS: If --                         7            MS. ST. PETER-GRIFFITH: You would ask
 8           MR. TORBORG: I just ask that you --        8    me that, Jarrett.
 9           THE WITNESS: You know, Mr. --              9            Five.
10           MR. TORBORG: -- let him finish.           10    BY MR. ANDERSON:
11           THE WITNESS: Am I clear to go?            11       Q. Okay. Looking at that report, sir,
12           MR. ANDERSON: You're clear to go.         12    that --
13           THE WITNESS: I agree with the             13       A. What page?
14   conclusions that are written here. I believe      14       Q. The last page.
15   that's required in a scientific evaluation that   15       A. Okay.
16   you declare what you're doing and what are the    16       Q. The -- which is the last portion of
17   inherent strengths and weaknesses of a scientific 17    Exhibit 5. Do you agree that to the extent you
18   analysis.                                         18    haven't considered these limitations and
19           I don't claim my expert report to be a    19    considerations in the context of your cost
20   scientific analysis. I claim it to be a           20    analysis for this litigation, that your cost
21   realistic view, an expert report of what home     21    analysis is not conducted appropriately?
22   infusion is and, again, I can consider these      22            MR. TORBORG: Object to form.
                                                                              57 (Pages 569 to 572)
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                                           Page 573                                                  Page 575
 1          THE WITNESS: Again, I don't feel that       1   in the context of this litigation?
 2   -- my cost analysis to be conducted appropriately  2          MR. TORBORG: Objection to form. And
 3   to identify what a home infusion company does,     3   the question --
 4   why it does what it does, where the costs come     4          THE WITNESS: That's not what I was
 5   from and provide estimates of what those costs     5   asked to do.
 6   are to help someone see what those costs are and   6   BY MR. ANDERSON:
 7   where they're derived from as required to the      7       Q. By whom?
 8   scientific level that you see here.                8       A. By the law firm that retained me.
 9          I mean, if you want to publish              9       Q. Well, when the law firm asked you to
10   something, I believe that that's a different      10   work on this case, did they ask you to set forth
11   story. I believe if you want to educate an        11   some home infusion cost data?
12   audience as to how, you know, a McDonald's        12       A. They did.
13   operates, you're going to ask a McDonald's        13       Q. Okay. In that context did you think to
14   operator -- a manager to come in there and say,   14   yourself as an expert I need to make sure that I
15   okay, tell me how does a McDonald's operate. And 15    do this appropriately and I survey in a reliable
16   they won't need to do all this research.          16   and representative manner?
17   BY MR. ANDERSON:                                  17       A. I had discussions related to my
18       Q. I'm not --                                 18   experience and I felt that that was --
19       A. Essentially it'll be the same.             19       Q. Discussions with whom?
20       Q. I'm not asking about Big Macs.             20       A. With Jones Day.
21       A. I understand.                              21       Q. Okay. Did you tell the lawyers that
22       Q. I'm not asking about Quarter Pounders.     22   you felt like you needed to conduct a survey that
                                           Page 574                                                  Page 576
 1   Okay. I'm asking you about your cost analysis in   1   used reliable techniques, methods and approaches
 2   this case.                                         2   to gather data that could be representative of
 3       A. Uh-huh.                                     3   the home infusion cost throughout the country?
 4       Q. You have work product in your report        4       A. I did not.
 5   purporting to show cost analysis, nursing fees,    5       Q. Okay. Do you feel like you need to
 6   pharmacy fees, et cetera.                          6   follow any type of industry accepted tools,
 7       A. Uh-huh.                                     7   criteria or other mechanisms in expressing
 8       Q. Is that true?                               8   opinions about the national cost of home infusion
 9       A. Yes, I do.                                  9   services?
10       Q. Okay. And you in conducting that           10          MR. TORBORG: What industry standards
11   analysis did not consider any possible variances  11   are you speaking of?
12   or limitations or considerations about how you    12          MR. ANDERSON: Any industry standards
13   surveyed and gathered that data, did you?         13   such as those noted in the last portion of
14          MR. TORBORG: Object to form, asked and 14       Exhibit 5 about data collection, survey and other
15   answered.                                         15   processes related to collecting cost information,
16          THE WITNESS: I did not. I don't            16   Dave.
17   believe that that was necessary. I believe the    17          MR. TORBORG: Okay.
18   conclusions would have been the same.             18          THE WITNESS: I don't --
19   BY MR. ANDERSON:                                  19          MR. TORBORG: Where are they in there
20       Q. Why is it not necessary for you to         20   exactly? I don't see that.
21   follow industry accepted techniques in surveying 21           THE WITNESS: I don't believe --
22   and gathering cost data in the context of this -- 22          MR. ANDERSON: He's the expert. He
                                                                            58 (Pages 573 to 576)
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 1   not been privy to manufacturers. I've not worked    1   BY MR. ANDERSON:
 2   in a manufacturer. Again, my experience doesn't     2      Q. You feel like it could bear upon your
 3   cross over into the manufacturer. So I'm not        3   opinions and you would need to investigate it
 4   preview as to the what, wheres and whys. So it      4   further?
 5   would be inappropriate for me even to have an       5      A. No, I feel like I would need to know --
 6   opinion.                                            6   we're going outside of what I asked -- I was
 7   BY MR. ANDERSON:                                    7   asked to do. And you're asking me questions to,
 8      Q. Have you considered any payments that         8   you know, to project or conjecture what my
 9   the state of Texas has received for                 9   opinion would be. And if I understand correctly,
10   reimbursements they paid back in the 1990s, for    10   you're asking me how would I feel or what would
11   instance, to pharmacies including home infusion    11   my opinion be if I was aware that a
12   pharmacies in judging whether or not the           12   pharmaceutical manufacturer paid a state millions
13   reimbursements were appropriate?                   13   over a period of time to do what.
14      A. I have not.                                  14      Q. You're saying you don't understand the
15      Q. Do you have any opinion whatsoever           15   question?
16   about the legality of Abbott Laboratories price    16      A. You know, if you could restate it, yes.
17   reporting for any of the complaint products?       17      Q. Okay. I'm going to try to draw you
18      A. I have not given that any                    18   back to something that you've testified to
19   consideration. I don't believe I'm qualified to    19   previously.
20   have an opinion.                                   20      A. Uh-huh.
21          MR. TORBORG: Objection.                     21      Q. And -- and we'll come at it from that
22   BY MR. ANDERSON:                                   22   angle.
                                            Page 586                                                  Page 588
 1       Q. Okay. Do you have any opinions              1        A. Okay.
 2   whatsoever about the ethical considerations        2        Q. I believe earlier today you said
 3   concerning Abbott Laboratories reporting or        3    something along the lines of, quote, as an
 4   publishing of prices for the complaint products?   4    industry we can defend home infusion pharmacies
 5       A. I have not given that any                   5    reimbursement and use of AWP differences or as
 6   consideration. And, again, I don't believe that I  6    you say spreads. Does that sound like your
 7   would be qualified to know everything that would   7    testimony from earlier today?
 8   be to render an opinion on the ethicalness in the  8        A. Yeah, I would be cautious not to take
 9   question that you're asking, so no, I have not.    9    it out of context, you know. I mean, when you
10       Q. Would it bear upon your opinion at all     10    take a sentence out of a paragraph, it could read
11   about whether the pharmacies themselves had acted 11    very differently. So I would just caution
12   ethically in receiving reimbursements for         12    against that.
13   infusion products if you learned, for instance,   13        Q. Okay. Well, I'm -- I'm going to ask
14   that Abbott Laboratories paid almost $30,000,000  14    you about this statement.
15   to the state of Texas to settle claims regarding  15        A. Okay.
16   price reporting?                                  16        Q. So I don't want to take it out of
17          MR. TORBORG: Object to form.               17    context at all.
18          THE WITNESS: I would say that, you         18        A. Okay.
19   know, I would have to know more about what you're 19        Q. I want to elaborate on it, if you
20   suggesting, Mr. Anderson, before I would feel     20    could.
21   that I'm even qualified to have that opinion.     21        A. Okay.
22   But, yes, I would -- I would have to know more.   22        Q. How can home infusion defend its use of
                                                                             61 (Pages 585 to 588)
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                                            Page 589                                                   Page 591
 1   AWP differences or spreads?                          1   those drugs.
 2      A. By educating those involved in                 2       Q. Did you consider the fact that the
 3   providing payment for home infusion services as      3   government does not -- strike that.
 4   to what those services entail.                       4           Are you aware of any government
 5      Q. Is -- is that defense part of what             5   investigations or litigation concerning the
 6   you're doing in this litigation?                     6   appropriateness of the AWP spreads?
 7          MR. TORBORG: Object to form.                  7       A. I believe that's implicated in the
 8          THE WITNESS: I believe that part of           8   complaint, as I understand it.
 9   what I'm doing in this deposition is providing an    9       Q. Okay. Other than the complaint are you
10   expert report that indicates, based on my           10   aware of other government investigations or
11   experience and my expertise in the home infusion    11   litigation about the appropriateness of AWP
12   industry, those costs involved in home infusion     12   spreads?
13   that payors may not be aware of.                    13       A. I am not.
14   BY MR. ANDERSON:                                    14       Q. Are you aware of any jury verdicts that
15      Q. Would you consider yourself to be             15   have been rendered regarding AWP spreads?
16   defending the interest of home infusion in the      16       A. I am not.
17   context of this litigation?                         17       Q. Are you aware of any settlements that
18      A. No, sir.                                      18   have been paid by drug companies regarding AWP
19      Q. Do you consider yourself to be                19   spreads?
20   independent, objectively analyzing all the data     20       A. No, I'm not.
21   pertinent to your work in this case?                21       Q. Does any of that information concerning
22      A. That is the only reason why I accepted        22   prior settlements or litigation that's pending or
                                            Page 590                                                   Page 592
 1   the agreement or what we call the -- what was the 1      jury verdicts that have been rendered about the
 2   document that I signed?                            2     appropriateness of AWP spreads bear upon any of
 3           MR. TORBORG: Engagement letter.            3     your defense of AWP spreads?
 4           THE WITNESS: The engagement letter. I      4         A. I can't say that it would or wouldn't
 5   felt like I could act independently.               5     without being aware of it. All I can say is I'm
 6   BY MR. ANDERSON:                                   6     aware of the current complaint. I'm aware of the
 7       Q. Okay. With respect to analyzing the         7     current considerations regarding how we used the
 8   appropriateness of pharmacies use of AWP spreads 8       complaint products and what it costs us to
 9   or differences, what information did you           9     provide those complaint products. And to date I
10   consider?                                         10     believe that it was always our intention to use
11           MR. TORBORG: Object to form, asked and 11        the difference between the acquisition costs and
12   answered.                                         12     that of the AWP spread of any drug that was
13           THE WITNESS: Again, what do you mean 13          utilized during that time period was assumed to
14   by what -- what information do I use as far as my 14     be going towards the covering of our cost of
15   acceptance of the use of the difference between   15     services and supplies.
16   the AWP and the actual acquisition costs?         16         Q. You said it was our understanding, who
17   BY MR. ANDERSON:                                  17     is our?
18       Q. What do you information do you feel        18            MR. TORBORG: Objection, asked and
19   supports your defense of home infusions -- home 19       answered.
20   infusion pharmacies acceptance of AWP spreads 20                THE WITNESS: I believe I speak for
21   over the years for the complaint products?        21     myself. I believe I speak for many in our
22       A. The two -- the true cost of providing      22     industry just from conversations I'm had over the
                                                                              62 (Pages 589 to 592)
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 1   the breadth of those portfolios. You don't tend      1   drug products or NDC numbers into one bag, for
 2   to look at one particular item, you know,            2   instance?
 3   individually. If you have a manufacturer that        3      A. Yes.
 4   comes in and says, okay, we have that one            4      Q. So you would take, for instance, a vial
 5   particular item and we have all these things that    5   of vancomycin and you would insert that and put
 6   you're using here and if you commit to this          6   that into a bag of saline. Correct?
 7   particular item, all these other items we can,       7      A. That's correct.
 8   you know, reduce the cost as well. I mean, you       8      Q. And when you would bill for that
 9   negotiate that way.                                  9   vancomycin in a compounded form, you would bill
10          MR. ANDERSON: I understand.                  10   for multiple NDC numbers. Correct?
11          THE WITNESS: Uh-huh.                         11          MR. TORBORG: Objection, form. Which
12   BY MR. ANDERSON:                                    12   program?
13       Q. And Lilly had a full line, so it would       13          THE WITNESS: Which program are you
14   have been ethical for you to dispense Lilly's       14   indicating here?
15   Vancocin. Correct?                                  15   BY MR. ANDERSON:
16       A. Lilly didn't have a TPN line. Lilly          16      Q. Medicaid and Medicare.
17   didn't have an ambulatory infusion device. No,      17      A. Okay. Medicare only would pay for the
18   Lilly didn't compare as far as the breadth of       18   primary drug, not the diluent.
19   supply items that we use here. Lilly didn't do      19      Q. Okay.
20   the medical supplies that Abbott was producing at   20      A. Medicaid does pay for the drug and the
21   the time such as IV tubings, you know, spikes and   21   diluent.
22   other things that you use in the pharmacy           22      Q. And in those situations you would have
                                             Page 614                                                  Page 616
 1   department. Their -- Abbott's breadth of product     1   multiple AWP spreads that you would be billing.
 2   lines were pretty significant.                       2   Correct?
 3           MR. ANDERSON: We got to change the           3      A. You would have the diluent -- in the
 4   tape.                                                4   case of the payor that's paying for both the
 5           THE WITNESS: Okay.                           5   diluent and the drug, yes.
 6           MR. SPECTOR: It's 2:52. We're going          6      Q. And what is the typical formulation of
 7   off the record.                                      7   compound of vancomycin?
 8           (Thereupon a recess was taken after          8      A. The most common is one gram in 250 ccs
 9   which the deposition continued as follows:)          9   of normal saline. That's probably the most
10           MR. SPECTOR: This is the beginning of       10   common dosage form.
11   tape number eight of the deposition of Dr. Elvin    11      Q. And in that situation you would have
12   Montanez.                                           12   the billing for the NDC number for the one gram
13           It is 3:05. We're back on the record.       13   vial of vanco and you would also have the one for
14   BY MR. ANDERSON:                                    14   the billing for the NDC of the 250 CC saline.
15       Q. Sir, I wanted to talk with you a little      15   Correct?
16   bit just about the nature of compounding product.   16      A. That's correct.
17       A. Uh-huh.                                      17      Q. And in your practice for your five
18       Q. I think you've talked about this a           18   pharmacies typically those would both be Abbott
19   little bit here and there, but I want to, if I      19   products?
20   could start from the beginning to the end.          20      A. Yes.
21           Is it true that when you compound a         21      Q. And when you would bill Medicaid, for
22   product you're talking about joining multiple       22   instance, you would be billing for two NDCs that
                                                                              68 (Pages 613 to 616)
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                                           Page 617                                                  Page 619
 1   would result in potentially two AWP spread         1      A. Again, I would have to see how that
 2   reimbursements?                                    2   formula is being applied in conjunction with that
 3           MR. TORBORG: Object to form.               3   dispensing fee and would it be adequate to cover
 4           THE WITNESS: You would have two            4   the service that's being provided. I think that
 5   different items that are being billed to           5   that would -- I would have to look at it, Mr.
 6   Medicaid, yes, and Medicaid would reimburse based 6    Anderson.
 7   on an AWP minus a percentage or a WAC plus a       7      Q. When you look at it can you describe
 8   percentage for two different NDC numbers.          8   what criteria or analysis you would conduct to
 9   BY MR. ANDERSON:                                   9   evaluate the adequacy of the dispensing fee?
10        Q. What about the dispensing fee?            10      A. I would like at what I know is the
11        A. The dispensing fee would be paid one      11   direct cost, you know, for the provision of the
12   time for the dispensing activity. So if I         12   service. And then if I'm looking at it from my
13   dispensed a three-day supply or a seven-day       13   own perspective and from my own business, I would
14   supply, I would get one dispensing fee.           14   provide or I would apply my own knowledge of what
15        Q. Would you get one dispensing fee per      15   our indirect costs are.
16   NDC number or just one dispensing fee?            16      Q. Our being you and your five pharmacies?
17        A. One dispensing fee.                       17      A. Yes.
18        Q. What does that apply to? Strike that.     18      Q. Okay.
19   I'll be more specific.                            19      A. If I was making that decision -- if I
20           Does that hold true for Florida           20   was making the decision, you know, as a provider.
21   Medicaid?                                         21      Q. Okay. Well, I'm not asking you about
22        A. Yes, it does.                             22   as a provider.
                                           Page 618                                                  Page 620
 1       Q. Do you know whether or not that holds       1       A. Uh-huh.
 2   true for any other Medicaids?                      2       Q. Let's be crystal clear about that. I'm
 3       A. I'd have to look at the reports --          3   asking you in your role as an expert testifying
 4       Q. And I realize --                            4   as an expert --
 5       A. -- to recall.                               5       A. Uh-huh.
 6       Q. -- there's several different pages          6       Q. -- paid as an expert in this case.
 7   there. But from your review of the Myers and       7       A. Uh-huh.
 8   Stauffer pages do you recall any differences in    8       Q. Okay. How would you go about as an
 9   how home infusion dispensing fees were paid?       9   expert in this case evaluating the adequacy of
10       A. There were differences.                    10   the dispensing fee?
11       Q. Like what?                                 11       A. Again, I would apply the formula what I
12       A. But differences in dispensing fees.        12   know to be the cost of the drug, the cost of the
13   Some states attempted to advance those dispensing 13   service and the cost of the supplies. The only
14   fees to recognize something particular to home    14   way to do that is to have an inherent knowledge
15   infusion. Some, you know, would be dispensing 15       of the overhead costs in general and I believe
16   fees that were less.                              16   that I would probably refer to the ABT report
17       Q. When you say advance, what do you mean? 17      that was published in 2006 to give me a reference
18       A. Higher dispensing fee. Significantly       18   for the indirect costs. I would be comfortable
19   higher dispensing fee. More like ten or $15 when 19    using either theirs or my expert report as far as
20   it involved an injectable drug.                   20   being able to apply the direct costs and then
21       Q. And in those situations do you believe     21   seeing what my calculations yielded.
22   that dispensing fee is adequate?                  22       Q. Just to be clear you haven't conducted
                                                                            69 (Pages 617 to 620)
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 1   any study concerning the adequacy of dispensing      1   conclusions. The general conclusions are, you
 2   fees, have you?                                      2   know, again the cost is significant. The cost
 3          MR. TORBORG: Object to form.                  3   can be looked at daily. It could be looked at
 4          THE WITNESS: No, I haven't conducted          4   per dispensing. It could be looked at in
 5   any formal study.                                    5   different ways. But it was significant and
 6   BY MR. ANDERSON:                                     6   substantial.
 7       Q. Have you provided any informal analysis       7   BY MR. ANDERSON:
 8   or opinions about the adequacy of dispensing         8       Q. Did you take any notes when you heard
 9   fees?                                                9   that presentation three years ago?
10       A. I believe I have in this report.             10       A. No, it was a lecture. So I took it at
11       Q. Okay. Just a moment ago when I was           11   -- I listened to it. I didn't take any notes.
12   asking you about how you would go about             12       Q. Can you recall anything about the cost
13   determining the adequacy of dispensing fees, you    13   data from that presentation?
14   said you would look to the ABT 2006 report.         14       A. As in specifics?
15   Correct?                                            15       Q. Like what -- what did they find was a
16       A. Uh-huh.                                      16   pharmacist's wage rate?
17       Q. Yet when you were creating and drafting      17       A. Okay. Those are -- those specifics I
18   the precise report that you filed in this lawsuit   18   don't recall.
19   in forming your opinions for this lawsuit you       19       Q. Okay. All right. Now going back to
20   didn't actually possess that report, did you?       20   evaluating adequacy of dispensing fees, do you
21       A. I did not repess -- possess the paper        21   have any other methodology or technique of
22   report.                                             22   conducting analysis that you can share with us on
                                            Page 622                                                   Page 624
 1      Q. And you -- and you've got to agree,            1   how to evaluate the adequacy of the dispensing
 2   don't you, Dr. Montanez, that there is really no     2   fee?
 3   human way that you could have recalled all of the    3       A. I don't have a technique or a
 4   facts and figures from that presentation you         4   methodology to analyze. I would say that if you
 5   heard three years ago?                               5   are proposing, Mr. Anderson, to pay for a home
 6      A. Not for every S code. What was                 6   infusion services and you're proposing to pay for
 7   exciting for us is to really have something that     7   those services based on an AWP minus formula for
 8   was finally being presented that was in an           8   an NDC and that NDC number is the only thing that
 9   unbiased fashion that was from an independent        9   is going to be utilized in the calculation of
10   source that really recognized the complexity and    10   that formula, today or back in 1995, that you
11   comprehensiveness of the home infusion industry,    11   would be -- you would not be considering the cost
12   so...                                               12   that's substantial to the business which is the
13      Q. I understand you were excited about it.       13   service and the supplies.
14   But you couldn't really use any of that             14       Q. I'm shifting gears, sir. You've said a
15   information in forming your opinions for that       15   couple of times that you haven't tested your
16   lawsuit, could you?                                 16   opinions in this case. Is that correct?
17          MR. TORBORG: Object to form.                 17          MR. TORBORG: Objection to form.
18          THE WITNESS: I believe I stated              18          THE WITNESS: I believe I test my
19   earlier that, you know, I -- I was aware of the     19   opinions every day when we -- when we're out
20   study. I was aware of the general conclusions.      20   there working.
21   You know, you're not going to remember the          21          Be more specific as to how you mean by
22   details, but you're going to remember the general   22   testing?
                                                                              70 (Pages 621 to 624)
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                                             Page 625                                                 Page 627
 1   BY MR. ANDERSON:                                     1   profit.
 2       Q. In your report you've set forth some          2   BY MR. ANDERSON:
 3   information and in your testimony --                 3       Q. What's the description of modest, what
 4       A. Uh-huh.                                       4   range of dollars means modest?
 5       Q. -- you've actually announced four             5       A. I think it varies. I think, it's --
 6   opinions. Correct?                                   6   you know, that definitely -- that introduces a
 7          MR. TORBORG: Objection to form,               7   significant subjectivity, you know, what I would
 8   misstates his testimony.                             8   consider modest and what you would consider
 9          THE WITNESS: (Nods head.)                     9   modest would probably be very different, so...
10   BY MR. ANDERSON:                                    10       Q. All right. Back to the industry --
11       Q. Is that true, sir?                           11       A. Uh-huh.
12       A. We've gone through testimony that has        12       Q. -- You've said that you've had a lot of
13   cited my opinions, four different opinions. And     13   conversations with the industry. Correct?
14   we've, I believe, taken those opinions and          14       A. People in the industry.
15   brought them into where I've cited various things   15       Q. Yeah. Who -- who -- who do you mean to
16   in the paper.                                       16   refer to when you refer to the industry?
17       Q. Okay. Have you tested any of those?          17           MR. TORBORG: Objection, asked and
18          MR. TORBORG: Object to form.                 18   answered several times. Please move on.
19          THE WITNESS: I believe the answer is         19           MR. ANDERSON: Absolutely not.
20   I've been testing those opinions for the last 14    20           MS. ST. PETER-GRIFFITH: Move to
21   years. I've been formulating those opinions for     21   strike.
22   the last 14 years. Do they get tested every time    22           MR. TORBORG: He's not coming back for
                                             Page 626                                                 Page 628
 1   you discuss the -- the same question as to what   1      a third day to answer the same question so many
 2   you're doing in home infusion in a particular     2      times.
 3   state over and over again and the answer is the   3             MR. ANDERSON: I challenge -- I
 4   same that is a test. I have been testing and      4      guarantee you, you will not see that question
 5   formulating that information over the last 14     5      anywhere. We have never asked him what he means
 6   years.                                            6      by the industry. I'm entitled to that answer. And
 7   BY MR. ANDERSON:                                  7      I would appreciate you not filibustering so that
 8       Q. How have you tested your opinion that      8      I can conclude my questioning.
 9   nobody in the home infusion industry defrauded    9             THE WITNESS: What I mean by the
10   the United States?                               10      industry is I mean people representative of the
11          MR. TORBORG: Objection to form, asked 11          industry. People who work in the industry I feel
12   and answered numerous times.                     12      are representative of the industry.
13          THE WITNESS: That is not an -- it's       13      BY MR. ANDERSON:
14   not something that I tested, Mr. Anderson, I     14          Q. What sectors of the industry?
15   think it would be unfair to sit there and say    15          A. Home infusion.
16   that testing is a proper word. I would say that  16          Q. Okay. So when you say the industry you
17   I've had enough discussions in our industry to   17      mean home infusion pharmacy and business owners.
18   know that I've never encountered anyone who has 18       Correct?
19   ever felt in our industry that they were         19          A. And employees and pharmacists and
20   uncomfortable receiving a difference between AWP 20      nurses and --
21   and the acquisition cost of what they paid for a 21          Q. Do you include any government personnel
22   product to cover their costs and have a modest   22      in your definition of the industry?
                                                                              71 (Pages 625 to 628)
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                                           Page 629                                                 Page 631
 1      A. No, I do not.                               1        A. I do not. Other than what we've
 2      Q. Do you include any government personnel 2        discussed here.
 3   in your references to what the industry intended  3        Q. Which is --
 4   or mean?                                          4        A. This deposition process. That's --
 5      A. I do not. I would love to, but I do         5    that's the only information I have about this
 6   not.                                              6    case.
 7      Q. Do you en -- do you encompass any           7        Q. I know. But I'm asking very
 8   pharmaceutical executives or employees in your    8    specifically about this allegation.
 9   definition of the industry?                       9        A. Yeah.
10      A. No, they're not -- they don't provide      10        Q. Do you have any information whatsoever
11   home infusion services, so they don't represent  11    about the allegation that Abbott caused Medicare
12   the industry of home infusion.                   12    and Medicaid to overpay for drug reimbursements?
13      Q. So are you able in any way to testify      13        A. Mr. Anderson, I do not except for the
14   about whether or not pharmaceutical employees, 14      complaint.
15   pharmaceutical company employees defrauded the 15          Q. But you don't have any information that
16   United States?                                   16    would somehow undermine the allegations in the
17      A. No, I'm not able to testify against        17    complaint or for that matter buttress the
18   that.                                            18    allegations in the complaint?
19      Q. Are you at all able to testify about       19        A. I do not.
20   whether pharmaceutical employees misrepresented 20         Q. One way or the other?
21   information to the United States?                21        A. One way or the other.
22      A. No, sir.                                   22        Q. Have you ever been concerned that the
                                           Page 630                                                 Page 632
 1       Q. You understand, I think, sir, that the      1   significant AWP spreads on infusion products may
 2   allegations in this case are that Abbott was       2   not survive public scrutiny?
 3   involved in misconduct which caused state          3       A. I've not given that any consideration.
 4   Medicaid and federal Medicare programs to pay      4       Q. What -- do you -- I understand that
 5   excessive reimbursements. Correct?                 5   you're saying most people in home infusion seem
 6       A. That's correct.                             6   to think that these significant AWP spreads on
 7       Q. You actually stated those words in your     7   infusion products are acceptable. Is that right?
 8   report. Correct?                                   8       A. Yes.
 9       A. Uh-huh.                                     9       Q. Do you think that every day people like
10       Q. Okay.                                      10   my dad who's a cotton farmer in west Texas would
11       A. Yes.                                       11   think that a spread of a thousand percent on a
12       Q. Did you do anything to investigate that    12   drug is acceptable?
13   allegation?                                       13       A. Well, Mr. Anderson, if we're going to
14       A. I was not asked to provide expert tes      14   use -- you know, personal examples, I would say
15   -- an expert report on that particular subject,   15   that once I educated your father -- if he needed
16   no. I was asked to provide an expert report on    16   my service, once I educated him on everything
17   my expertise which was home infusion.             17   that I was performing for him to get better and
18       Q. Do you have any opinion on that            18   once he received my services and his satisfaction
19   allegation?                                       19   for those services, that he would understand
20       A. I do not.                                  20   where those differences are applied.
21       Q. Do you have any information whatsoever     21       Q. Do you think that Abbott HPD personnel
22   about the validity of that allegation?            22   would have been educated about how the AWP
                                                                            72 (Pages 629 to 632)
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                                             Page 661                                                Page 663
 1          MR. TORBORG: Are you finished? I             1      Q. Okay. Did you have any conversations
 2   don't think he's finished.                          2   over your 14 years with any other home infusion
 3          THE WITNESS: I'm finished.                   3   pharmacists about how they would evaluate
 4          MR. ANDERSON: Ask him.                       4   relative reimbursement or AWP spreads in
 5          THE WITNESS: I'm finished.                   5   purchasing generic drugs?
 6          MR. ANDERSON: He was.                        6      A. Rephrase the question. 'Cause it's
 7          MR. TORBORG: I think you cut him off.        7   very detailed. You have a lot of information
 8          MR. ANDERSON: No.                            8   there.
 9          MR. TORBORG: He was in the middle of         9      Q. Sure.
10   saying something and you cut him off.              10      A. Uh-huh.
11          MR. ANDERSON: Well, great, I disagree       11      Q. Gladly. Over your 14-year tenure in
12   with you, Dave.                                    12   the home infusion field --
13   BY MR. ANDERSON:                                   13      A. Uh-huh.
14      Q. Sir, would you agree that the informal       14      Q. -- have you ever had any conversations
15   surveys or as you call it networking that you      15   with other home infusion personnel about them
16   conducted were on an ad hoc basis?                 16   considering ABT spreads or relative reimbursement
17      A. Define ad hoc.                               17   in buying generic drugs?
18      Q. It was something that just happened          18      A. Yes.
19   when you were at a conference from time to time    19      Q. All right. Did you factor those
20   you would have a discussion with somebody?         20   discussions or conversations into your opinion
21      A. Uh-huh.                                      21   that you have provided in this case?
22      Q. Right?                                       22      A. Yes. I believe that I provided an
                                             Page 662                                                Page 664
 1       A. Yes.                                         1   opinion that said the spread -- that difference
 2       Q. You didn't set up any specific criteria      2   between the acquisition cost and the AWP was what
 3   or protocol for how you would select the people     3   we as a industry relied on to cover the costs
 4   you would have conversations with. Correct?         4   that we incurred in providing the service.
 5       A. That's correct. I was --                     5      Q. Did you consider those conversations
 6       Q. So --                                        6   you had with these other home infusion
 7       A. I've been -- I've been real specific         7   pharmacists in rendering your opinion that you
 8   with that, saying this is conversation.             8   corrected a few minutes ago, but up until a few
 9       Q. I know. I just want to flesh it out          9   minutes ago it was your opinion that home
10   some. So, for instance, you might have had a       10   infusion pharmacies don't buy based upon the
11   conversation in an elevator?                       11   spread?
12       A. Correct.                                    12      A. Well, I don't --
13       Q. But the selection of that person could      13          MR. TORBORG: Objection to form.
14   have been completely unrepresentative of home      14          THE WITNESS: I don't believe that that
15   infusion pharmacists. Correct?                     15   was my opinion that I stated that pharmacists buy
16       A. If it's a home infusion pharmacist, why     16   on the -- based on the spread. We discussed the
17   wouldn't they be representative of the industry?   17   fact that the spread information is available,
18       Q. Well, do you believe that Mr. Gardner's     18   the AWP and the acquisition cost is available to
19   testimony is representative of the industry?       19   you in application, in catalogs and that --
20       A. Yes, he ran the industry -- he ran home     20   certainly that comes into consideration. But I
21   infusion in the industry, if you say, yeah, he's   21   didn't state that pharmacists purchase based on
22   a representative of the industry, absolutely.      22   the spread.
                                                                             80 (Pages 661 to 664)
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 1   pharmacy.                                          1   the patient's home. They have to have somebody
 2       Q. Would a $5 total labor cost have            2   that is billing the time whether it be at that
 3   supported your conclusion?                         3   brick and mortar operation or somewhere else.
 4          MR. TORBORG: Object to form.                4   It's still -- you know, I look at the resource
 5          THE WITNESS: Again, what you're             5   regardless of where it's located. The resource is
 6   looking at is the dispensing fee. Okay. And the    6   still requiring a certain period of time.
 7   dispensing fee and the $5 labor cost would it      7       Q. Do you know anything about the
 8   have supported my conclusion, no.                  8   efficiencies or home infusion practice techniques
 9   BY MR. ANDERSON:                                   9   of Coram Pharmacies?
10       Q. Would a $15 labor cost have supported      10       A. No, I don't.
11   your conclusion?                                  11       Q. Do you know anything about the
12       A. No, but I don't believe that you would     12   efficiency or practices of any other chain home
13   have seen a substantial shift to that nature in   13   care pharmacy?
14   -- in four years going from '95 to two -- 19 --   14       A. Those are usually considered
15   to '91 or in six years from '95 to 2001.          15   proprietary, but remember that I operate a small
16       Q. What's -- what's the information that      16   chain of five pharmacies and we do take advantage
17   underlies that belief?                            17   of some of these operational efficiencies.
18       A. My experience.                             18       Q. Right.
19       Q. That's back to the 14 years here in        19       A. Again, it's still a resource that I
20   central and southern Florida?                     20   have to utilize.
21       A. I've hired pharmacists, yes.               21       Q. But earlier you distinguished yourself
22       Q. Do you know, sir, that there's been in     22   significantly from the chains --
                                            Page 674                                                 Page 676
 1   the home infusion pharmacy arena the spread of    1        A. I don't --
 2   chain home infusion pharmacies?                   2        Q. -- and you agree that you don't know
 3      A. The spread of chain home infusion           3    anything about the labor costs of the chains, do
 4   pharmacies?                                       4    you?
 5      Q. Yeah.                                       5        A. I don't think that would be fair, Mr.
 6      A. Yes.                                        6    Anderson, to say that I don't know anything about
 7      Q. The proliferation, I should say, of         7    the labor costs. I still know what it costs to
 8   chain home infusion pharmacies.                   8    hire a nurse. I still know what it costs to hire
 9      A. Yes.                                        9    a pharmacist, a technician, a driver.
10      Q. And one of the benefits of operating       10        Q. Well, you agree --
11   chain home infusion pharmacies is efficiency in  11        A. And those chain pharmacies are still
12   your operations. Correct?                        12    going to have to be competitive in whatever
13      A. Yes.                                       13    region they're in.
14      Q. Did you factor those labor savings         14        Q. Do you -- I'm going to switch gears
15   through efficiency into your labor costs?        15    slightly.
16      A. I believe I do. Because, again, the        16        A. Okay.
17   chain pharmacies, the national home infusion     17        Q. Do you know that Abbott operated its
18   pharmacies still have to have a brick and mortar 18    own home care pharmacies?
19   presence. They still have to have a licensed     19        A. I did.
20   pharmacist. They have to have a technician       20        Q. And did you know that those home care
21   compounding in that licensed pharmacy area. They 21    pharmacies were set up exclusively to make
22   have to have somebody that drives the product to 22    compounded products and ship those out to
                                                                            83 (Pages 673 to 676)
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                                           Page 689                                                  Page 691
 1       Q. Would it bear upon your opinions in         1   automatically. But, yes, it was on page 2 of the
 2   this case in any way if you learned that repeated  2   item master file.
 3   Abbott witnesses have sworn under oath that they   3       Q. And what was your understanding as to
 4   never, ever considered dispensing fees when they   4   why AWPs needed to be in this standard claims
 5   set prices that they published to First DataBank   5   processing software?
 6   and Red Book on the complaint products?            6       A. Well, I think it was in the Health Care
 7          MR. TORBORG: Object to form.                7   Automation software as well. It's in present day
 8          THE WITNESS: I would have to know more 8        home infusion software, Mr. Anderson, because
 9   about, you know, that specific subject. But, you   9   that is a -- a reference number that is utilized
10   know -- again, would it bear on my opinion as to  10   to create various reimbursement and claims
11   what, Mr. Anderson?                               11   methodologies that are used to reimburse and
12   BY MR. ANDERSON:                                  12   generate claims.
13       Q. Would it bear on any of your opinions      13       Q. Shifting gears, Dr. Montanez, have you
14   in this case if you learned that Abbott           14   ever had any involvement in setting the
15   executives swear under oath they never considered 15   government drug payment policy?
16   dispensing fees, most specifically home infusion  16       A. No.
17   dispensing fees when they set or published any    17       Q. Are you aware of any authority that
18   price including direct prices, resultant AWPs or  18   Abbott has to control government drug
19   wholesale prices?                                 19   reimbursement policy by manipulating AWPs?
20          MR. TORBORG: Object to form.               20       A. I do not.
21          THE WITNESS: Well, no, because that's      21          MR. TORBORG: Object to form.
22   not what I was asked to do, Mr. Anderson. I       22   BY MR. ANDERSON:
                                           Page 690                                                  Page 692
 1   wasn't asked to do -- to render an opinion about  1       Q. Answer.
 2   a vendor and their policy or their lack thereof   2       A. I do not.
 3   or whatnot.                                       3       Q. Good. Do you have any opinions in this
 4   BY MR. ANDERSON:                                  4    case that Abbott was somehow entitled to
 5       Q. Regarding the CHIP system, sir, do you     5    manipulate published AWPs to alter drug
 6   agree that the CHIP system that you've used for   6    reimbursement?
 7   about 12 years now that came from Abbott has AWPs 7           MR. TORBORG: Object to form.
 8   in it?                                            8           THE WITNESS: I have no opinion. And I
 9       A. What I would tell you is that the CHIP     9    have no knowledge of that.
10   system that we purchased was an application that 10    BY MR. ANDERSON:
11   was licensed and had all the drug information    11       Q. Are you aware of any authority
12   database available to us with every NDC number.  12    whatsoever granted by any government person
13   We had to populate that information from updates 13    whatsoever to Abbott to set AWPs at high levels
14   that were provided by, I believe, it was Red     14    on the complaint drugs to cause reimbursements to
15   Book.                                            15    be high?
16       Q. And did you populate your CHIP system     16       A. No, I'm not.
17   as obtained from Abbott with AWPs from Red Book? 17       Q. Do you plan to ever express an opinion
18       A. Yes.                                      18    that the way Abbott set its AWPs was perfectly
19       Q. And did Abbott design the CHIP system     19    appropriate?
20   to contain a field titled AWP for which you and  20       A. I've not been asked to do that. And I
21   other pharmacies could populate that data?       21    don't plan to do so.
22       A. The Red Book would populate that data     22       Q. I notice early in your testimony
                                                                            87 (Pages 689 to 692)
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